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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

NAPOLEÓN SEPÚLVEDA MORENO,                 §
and LUZ MARIA MARTINEZ CASTRO, §
and SANDRA LIZETTE CARDENAS                §
RAMIREZ, as Next Friend of S.S.C.,         §
minor child, Individually and for and      §
on behalf of All Those Who Are Entitled to §
Recover Under the Texas Wrongful Death §
and Survival Acts for the Death of         §
JESUS IVAN SEPÚLVEDA MARTINEZ, §
and BRENDA BERENICE CASIAS                 §
CARRILLO,                                  §
                                           §
       Plaintiffs,                         §
                                           §
v.                                         §           CIVIL ACTION NO. 3:24-CV-00059-DB
                                           §
LASALLE CORRECTIONS V LLC,                 §
                                           §                                    Jury Trial Demand
       Defendant,                          §

  PLAINTIFFS’ RESPONSE TO NON-PARTY DISTRICT ATTORNEY’S MOTION TO
         QUASH SUBPOENA AND MOTION FOR PROTECTIVE ORDER

       Plaintiffs file this, their response to Non-party District Attorney for the 34th Judicial District

of Texas Bill Hicks’ (“Movant” or “Hicks”) motion seeking a protective order quashing the

subpoena served on Hicks on August 21, 2024. Plaintiffs request that the Court deny Hicks’s

request for relief for the following reasons.

                                   FACTUAL BACKGROUND

       This lawsuit seeks civil relief from a corporate entity operating a private detention facility

in West Texas for the shooting death and injuries that occurred in Hudspeth County, Texas on

September 27, 2022. On that day, Plaintiffs allege that Michael Sheppard was in the course and

scope of his job as warden of Defendant’s facility. [Id. at ¶¶10-15]. En route, he stopped and shot

at a group of unarmed migrants. [Id]. He killed one person and injured another. [Id]. He continued
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in his truck to a subsequent meeting which he attended minutes after the shooting. [Id]. Plaintiffs

are the surviving heirs and statutory death beneficiaries of Jesús Ivan Sepúlveda Martinez,

deceased, and, separately, Berenice Casias.

        Following the shooting, Mr. Sheppard and his brother were interviewed by the Texas

Rangers for the shooting. Ex. 3, Complaint Affidavit.1 Subsequently, a warrant was issued for their

arrest for manslaughter and aggravated assault. Id. See also Ex. 4, Gabby Hernandez, A long road

to justice: Twin brothers remain in Florida a year after shooting at migrants in Sierra Blanca,

Texas, KVIA (Oct. 23, 2023) (available at: https://kvia.com/news/border/2023/10/23/a-long-road-

to-justice-twin-brothers-in-florida-a-year-after-migrants-were-shot/). Michael Sheppard’s bonds

were reduced to a $75,000 surety bond and a $175,000 personal recognizance bond in October of

2022. Jamel Valencia, Bonds reduced for twin brothers Mark and Mike Sheppard in deadly migrant

shooting, KFOXTV (Oct. 27, 2022) (available at: https://kfoxtv.com/news/local/twin-brothers-

mark-and-mike-sheppard-appear-for-bond-hearing-sierra-blanca). Since their release from

custody, after two years, no federal or state prosecutorial office has brought any indictment or filed

any criminal case against either Mark or Michael Sheppard.

        Plaintiffs served a subpoena on Hicks on August 21, 2024 seeking specific documents. Ex.

1, Subpoena and Subpoena Return. See also [ECF No. 23, Ex. A]2. Through discussions with

counsel for Hicks over the last several weeks, Plaintiffs agreed to limit the scope of the subpoena

to discrete categories of documents. Exhibit 2, Email from Benoit to Gomez, Sept. 16, 2024. Hicks

has produced the affidavit of probable cause signed by Texas Ranger Juan Torrez – which has been


1
  This is the complaint affidavit and complaints that were provided by Movant in response to conferral.
They have been redacted. This complaint affidavit has already been released in largely unredacted form to
the public.
2
  Movant included Plaintiffs’ subpoena in Exhibit A of his motion but excluded certain pages – including
an entire page that list the categories of documents sought. See [ECF No. 23, Ex. A). Plaintiffs include the
subpoena in its entirety (along with the subpoena return) as Exhibit 1 to this response.

                                                     2
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available to the public since September 2022. Until today, Hicks has refused to produce any other

documents or amend the motion to quash. Hicks’ office is apparently still considering the amended

scope of Plaintiffs’ subpoena. Id. Hicks’ office has not responded with any of the authenticating

questions asked through a Deposition Upon Written Questions and attached as Exhibit A to

Plaintiffs’ subpoena.

       Hicks seeks to quash this subpoena on the sole basis that “the information sought is

privileged by law because it is related to an ongoing criminal investigation” – relying on Texas

state codes and one reference to federal privilege [ECF No. 23, p. 2]. Hicks’ motion should be

denied because Hicks has not met his burden under the relevant law.

       The criminal process has left Plaintiffs without any justice to date. Now, Hicks seeks to

prevent Plaintiffs from accessing fundamental information to seek justice in this civil suit.

Plaintiffs request that the Court deny Hicks’ request for relief.

                                        STANDARD OF REVIEW

       A motion to quash or for protective order by a non-party subject of a subpoena is governed

by the standards set forth in FED. R. CIV. P. 45. Here, Hicks only seeks relief under FED. R. CIV. P.

45(d)(3)(A)(iii) – seeking relief because the subpoena would require disclosure of privileged

information. Rule 45(d)(3)(A) requires quashing or modification of a subpoena where the moving

party has met his burden that the subpoena seeks privileged information.

       Of particular importance, when bringing such a motion, the moving party bears the burden

of proof that the information sought is, in fact, privileged. MetroPCS v. Thomas, 327 F.R.D. 600,

609 (N.D. Tex. 2018). A moving party is generally required to meet this burden of proof through

the offering of evidence or affidavits. Andra Grp., LP v. JDA Software Grp., Inc., 312 F.R.D. 444,

449 (N.D. Tex. 2015).



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           Finally, if a moving party meets its burden to some (but not all) responsive information,

“modification of a subpoena is preferable to quashing it outright.” Wiwa v. Royal Dutch Petroleum

Co., 392 F.3d 812, 818 (5th Cir. 2004).

                                     ARGUMENTS AND AUTHORITIES

           Hicks seeks to quash Plaintiffs’ subpoena on the sole basis that it is privileged pursuant to

the following sources of law: (1) TEX. CIV. PRAC. & REM. CODE § 30.006(b)-(d); (2) TEX. GOV.

CODE § 552.108; and (3) a federal law enforcement privilege found in In re United States Dep’t of

Homeland Sec., 459 F.3d 565, 570 (5th Cir. 2006).3

           For the reasons stated below, Plaintiffs request that the Court deny Hicks’ motion in its

entirety and require Hicks to produce the requested documentation subject to a mutually agreed

confidentiality and protective order.

      I.      Hicks’s motion should be denied because he has not met his burden to quash this
              subpoena under TEX. CIV. PRAC. & REM. CODE § 30.006 and TEX. GOV. CODE §
              552.108.

           First, Hicks argues that Texas state law establishes privileges which relieve Hicks from the

obligation of compliance with Plaintiffs’ federal subpoena. Hicks argues that TEX. CIV. PRAC. &

REM. CODE § 30.006(b)-(d) and a separate provision under the Texas Public Information Act (PIA),

TEX. GOV. CODE § 552.108, prevent Plaintiffs from accessing any of the requested documents

sought. Hicks’ argument is without merit and must be denied.

           A. TEX. CIV. PRAC. & REM. CODE § 30.006(b)-(d) does not apply to this action.

           First, the Court is not required to apply TEX. CIV. PRAC. & REM. CODE § 30.006(b)-(d)

because this state statute does not establish a privilege under state law and because the provision

is procedural, not substantive, law.



3
    Movant does not seek to quash Plaintiffs’ subpoena for any other purpose. [ECF No. 23, p. 2-3].

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       The state statute in question does not establish a privilege for evidentiary purposes. FED.

R. EVID. 501 makes clear that federal law – not state law – governs “a claim of privilege” in federal

proceedings. As an exception, FED. R. EVID. 501 states that state law “governs privilege regarding

a claim or defense for which state law supplies the rule of decision.” Id. Under this provision, state

will usually apply in pure diversity cases. Martin v. Lafon Nursing Facility of the Holy Fam., Inc.,

244 F.R.D. 352, 354 (E.D. La. 2007).

       However, Plaintiffs have found no case law stating that TEX. CIV. PRAC. & REM. CODE §

30.006(b)-(d) constitutes a “privilege” under state law. The statute merely provides a procedural

framework for a party’s access to discovery from law enforcement agencies. The provisions

provide procedural steps by which a party may access certain documents in the possession of

qualified law enforcement agencies. Id. at (c) and (d). It does not identify these provisions as

establishing a privilege and no federal court has stated that this provision creates a privilege

recognizable under FED. R. EVID. 501. Therefore, this statute does not establish a state privilege

and is not subject to the general provision in FED. R. EVID. 501 that state privileges apply in

diversity cases.

       Furthermore, in a diversity action, a federal court applies state law in a federal civil action

only if the state law is substantive rather than procedural pursuant to Erie R.R. v. Tompkins, 304

U.S. 64 (1938). See Est. of C.A. v. Grier, 752 F. Supp. 2d 763, 770 (S.D. Tex. 2010) (finding that

disclosure procedures and requirements under Texas professional malpractice laws are generally

considered procedural and not substantive).

       Here, TEX. CIV. PRAC. & REM. CODe § 30.006 establishes procedures that a litigant must

follow to seek disclosure of certain law enforcement records. This is a procedural – not a

substantive – law. Therefore, this Court should adhere to federal law on this topic – not state law.



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       For these reasons, Hicks’ motion should be denied.

       B. Exemptions laid out in the Texas Public Information Act do not apply to this action.

       Hicks also relies on the exemptions laid out in the Texas PIA to quash Plaintiffs’ subpoena.

[ECF No. 23, p. 2] (citing TEX. GOV. CODE § 552.108). However, state law is clear that the Texas

PIA does not apply to civil discovery. “By its own terms, the [PIA] has no effect on civil

discovery.” Piatt v. Cty of Austin, No. 1:07-CV-520 LY, 2008 WL 11334173, at *4 (W.D. Tex. Sept.

29, 2008). See also TEX. GOV. CODE § 552.005(b) (“Exceptions from disclosure under this chapter

do not create new privileges from discovery.”). Therefore, any attempt to quash Plaintiffs’

subpoena through a provision of the PIA is not grounded in law.

       C. If the Court finds that Tex. Civ. Prac. & Rem. Code § 30.006(b)-(d) does apply to this
          action, the Court should still deny Hicks’s motion because Hicks has not met his burden
          under the statute.

       Even if the Court finds that the provisions of TEX. CIV. PRAC. & REM. CODE § 30.006(b)-

(d) do apply, Hicks has not met his burden under that statute. TEX. CIV. PRAC. & REM. CODE §

30.006(c)(3) requires a moving party to establish that the release of information “would interfere

with the detection, investigation, or prosecution of criminal acts” in order to avail itself of the

exemption from production in a civil matter.

       Here, Hicks has provided the Court with nothing other than to state, in conclusory fashion,

that there exists “a lengthy confidential multi-agency investigation and prosecution.” [ECF No.

23, p. 2-3]. See also Lee v. Cty of Midland, No. 7:22-CV-0185-BL, 2024 WL 4005959, at *7 (W.D.

Tex. Feb. 15, 2024) (finding that a district attorney’s single “conclusory assertion that the matters

‘are still being prosecuted’” was insufficient to meet the Hicks’s burden to quash under federal law

enforcement privilege). Hicks presents no affidavits or other evidence to the Court that this such

an investigation is, in fact, afoot. Hicks has not met his burden.



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       In fact, there is no evidence – in the motion or in the public sphere – that Hicks is involved

in an ongoing criminal investigation of the underlying shooting. After two years of a widely

publicized shooting in which one person is dead and another suffered for years from significant

injuries, not a single case has been brought by any prosecutor against the shooting parties.

       Therefore, in the event the Court does consider application of TEX. CIV. PRAC. & REM.

CODE § 30.006 to this action, it should find that Hicks has not met his burden and deny his motion

to quash.

       D. If the Court finds that TEX. CIV. PRAC. & REM. CODE § 30.006(b)-(d) does apply to this
          action, Plaintiffs hereby move for disclosure of information pursuant to § 30.006(d)

       If the Court does find that TEX. CIV. PRAC. & REM. CODE § 30.006 applies and that Hicks

has met his burden, Plaintiffs hereby request, in the alternative, disclosure of the requested

information pursuant to § 30.006(d). Under this provision, a court may order discovery from a law

enforcement agency if the Court determines – through an in camera inspection – that the discovery

is (1) relevant; and (2) there is a specific need for the discovery. Id. See also, J.T. v. Uplift Educ.,

No. 3:20-CV-3443-D, 2022 WL 2972589, at *1 (N.D. Tex. July 27, 2022) (applying § 30.006(d)

and permitting disclosure of certain documents following an in camera review and finding the

documents met these two elements).

       Plaintiffs hereby move for this relief, in the alternative. In a trial in this action, Plaintiffs

will have to establish that: (1) Michael Sheppard engaged in assault and battery when he shot Jesús

Ivan Sepúlveda Martinez and Brenda Berenice Casias Carrillo; and (2) Michael Sheppard was

acting in the course and scope of his job duties as warden for Defendant when he participated in

this shooting. Plaintiffs must be able to prove that Michael Sheppard shot these two individuals

intentionally and knowingly [¶ 18-19] and that his actions merit punitive damages [¶ 28].




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        Michael Sheppard’s attorney has stated in the media that he was hunting and did not know

or intend to shoot Mr. Sepúlveda or Ms. Casias Carrillo. CNN, CNN breaks down scene where

migrants     were     allegedly    shot    by    brothers     (Nov.     12,    2023)     (available    at:

https://edition.cnn.com/videos/us/2023/11/12/migrants-shot-killed-texas-border-twin-brothers-

arrested-flores-dnt-cnntmwk-vpx.cnn). The complaint affidavit signed by the Texas Rangers

indicates that Mr. Sheppard changed his story several times with regards to his intention and

knowledge regarding the shooting. Ex. 3. The type of weapon he was shooting, photos and videos

of the shooting location, the time of day of the shooting, and any assessment of where the parties

were located when the shooting occurred are all relevant to Plaintiffs’ claims.

        Furthermore, any information regarding Mr. Sheppard’s employment with Defendant

collected by or under the control of Hicks is directly relevant to the claims raised herein. Ex. 1,

Subpoena Ex. B, ¶21.

        Finally, Plaintiffs and Defendant have a “specific need” to access this information in this

civil suit. TEX. CIV. PRAC. & REM. CODE § 30.006(d). Neither Plaintiffs nor Defendant in this

lawsuit have any access to evidence related to the circumstances of the September 27, 2022

shooting. Indeed, it appears that most data that would support Plaintiffs’ claims or Defendant’s

defenses are in the possession, custody, or control of law enforcement agencies and have not been

returned to Plaintiffs. Brenda Casias Carrillo’s telephone was taken as evidence and has not been

returned to her. Similarly, Michael Sheppard’s computers were apparently taken and not returned

to Defendant. Ex. 5, Def’s Resp to Pl’s Req for Prod, p. 6, Request No. 13.4 Therefore, Plaintiffs

and Defendant cannot access this crucial evidence without going to law enforcement.


4
  Movant may point out in his reply that a federal agency – not Movant’s agents – gathered these
computers. He may claim that he cannot be responsible for responding to information that was gathered
by a separate entity. However, Movant has repeatedly said as his sole basis for quashing the subpoena that
there is an ongoing “multi-agency investigation.” [ECF No. 23, p. 2-3]. Movant cannot rely on a “multi-

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          Again, Plaintiffs are offering a strict confidentiality and protective order to ensure the

integrity of the information sought. Ex. 2. Such an order should be sufficient to protect Hicks’

concerns. J.T., 2022 WL 2972589, at *2 (protecting the compelled records through a protective

order in place in the civil litigation).

          For these reasons, if the Court considers TEX. CIV. PRAC. & REM. CODE § 30.006, it should

grant Plaintiffs’ alternative request for relief to require Hicks to produce the requested information

after an in camera review by this Court under (c) of the same statute.

    II.      Hicks’ motion should be denied because Hicks has not met his burden that the
             requested documentation is privileged under federal law.

          Finally, federal common law should not bar production of the requested information.

Federal courts have established the existence of a law enforcement privilege for documents which

relate to an ongoing criminal investigation. In re U.S. Dep’t of Homeland Sec., 459 F.3d 565, 569

(5th Cir. 2006).

          To avail itself of this privilege, a governmental entity must establish that the documents

relate to “an ongoing criminal investigation.” Id at 569-70 n.2. However, for the reasons stated in,

supra, Sec. I(C). Hicks has not met his burden as to this element.

          Furthermore, the law enforcement privilege is not absolute. It does not “apply indefinitely.”

In re U.S. Dep’t of Homeland Sec., 459 F.3d at 569 (citing Swanner v. United States, 406 F.2d

716, 719 (5th Cir. 1969)). It is “bounded by relevance and time constraints” and “lapses after a

reasonable period of time.” In re U.S. Dep’t of Homeland Sec., 459 F.3d at 571. The determination

of what is a reasonable period of time is within the discretion of this Court and requires a

particularized assessment of the documents in question. Id. It is not appropriate for a Court to


agency investigation” and then claim that he does not have access to documents that were gathered by
other agencies. Moreover, there is no evidence that the federal government continues to investigate this
matter.

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simply quash a subpoena on the basis of the federal common law privilege – it must review the

documents in camera and make a particularized assessment of the records. Id.

        Finally, the privilege is meant to prevent techniques and procedures, protect the

confidentiality of sources, witnesses, and personnel, and safeguard the privacy of individuals in

the investigation. Id. 459 F.3d at 569 n.1.5 The analysis requires a balancing test between protection

of the government’s interest and a party’s need for the documents. 459 F.3d at 570.

        Here, Hicks requests that the Court quash the subpoena in its entirety on the basis of a

single statement that there is an ongoing criminal investigation. [ECF No. 23, p. 2-3]. Hicks has

not made any particularized argument that every responsive document is subject to the federal law

enforcement privilege. Indeed, many of the categories of documents do not seek the identity of

any individuals or law enforcement techniques. See Exs. 1 and 2 (seeking information from

plaintiff’s own private telephone or photos of the incident in question).

        Moreover, as stated in, supra, Sec. I(D), there are significant questions as to whether a

reasonable amount of time has passed for this information to still be subject to the federal law

enforcement privilege protections.6 Hicks provided the Court with no evidence that would show

that it is reasonable that an indictment has not been brought in two years of the shooting. One

would expect the law enforcement agency to talk with the victims of the crime but, as noted, that




5
  The privilege is also limited “only to government documents.” United States v. Ocasio, No. EP-11-CR-
2728-KC, 2013 WL 2458617, at *5 (W.D. Tex. June 6, 2013).
6
  Federal courts are also required to consider ten factors laid out in Frankenhauser v. Rizzo, 59 F.R.D.
339, 334 (E.D. Pa. Mar. 13, 1973) in consideration of the law enforcement privilege. In re U.S. Dep’t of
Homeland Sec., 459 F.3d at 570 (applying the Frankenhauser test). Plaintiffs do not address each factor
because Movant has not presented any evidence to weigh. That said, it should be noted that – subject to a
strict confidentiality and protective order – the narrowed categories of documents sought should weigh in
favor of disclosure under the Frankenhauser factors. The confidentiality order would prevent this
information from chilling sources, the plaintiffs’ suit is non-frivolous and brought in good faith, the
information sought is not available from other sources, and the information sought is important to
Plaintiffs’ case. Id.

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has not happened to date. Indeed, one would think that the fact that the case “has become the

subject of national headlines” would mean that an indictment would be pressing. [ECF No. 23, p.

3]. Yet, two years later, Plaintiffs are left without any justice in the criminal system while, at the

same time, subject to Hicks’ attempt to prevent Plaintiffs from seeking justice in their civil suit.

       Therefore, because Hicks has not met his burden of proof that the federal law enforcement

privilege applies to this case, his motion to quash should be denied.

                                          CONCLUSION

       For these reasons, Plaintiffs respectfully request that the Court deny Hicks’ motion to quash

or, in the alternative, permit an in camera review using the factors set forth in federal law to

establish whether any law enforcement privilege applies to the documents in question.

                                               Respectfully submitted,

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                                                 /s/ Christopher Benoit
                                               CHRISTOPHER BENOIT
                                               Texas Bar No. 24068653
                                               chris@coylefirm.com


                                 CERTIFICATE OF SERVICE

        I hereby certify that on September 17, 2024, I electronically filed the foregoing document
with the Clerk of Court using the CM/ECF system which will cause all parties or counsel of record
to be served by electronic means.

                                              /s/ Christopher Benoit
                                              Christopher Benoit




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             EXHIBIT
               1
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Western District of __________
                                                       __________             Texas

                                                                               )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No.
                                                                               )
                                                                               )
                              Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:

                                                       (Name of person to whom this subpoena is directed)

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:



 Place:                                                                                 Date and Time:



        Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                 Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

                I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

                I returned the subpoena unexecuted because:
                                                                                                                                              .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                      for travel and $                             for services, for a total of $                .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                        EXHIBIT “A”
The answers to these questions shall be taken before a Notary Public in the office indicated for
production on the attached subpoena or elsewhere by agreement.

These questions may be used in evidence upon the trial of the matter made the basis of this civil
action.

            DIRECT QUESTIONS TO BE PROPOUNDED TO THE WITNESS

Custodian of Records for: The Office of the 34th Judicial District Attorney

Records Pertaining to:        Please see Exhibit “B”

Type of Records:              Exhibit “B”

1.     Please state your full name, business address and official title.

       ANSWER:_______________________________________________________________

2.     Please state by whom you are employed and the business address.

       ANSWER:_______________________________________________________________

3.     Did you receive a subpoena duces tecum for the production of records and other documents
       pertaining to: any and all government records pertaining to the investigation and
       prosecution of Mike Thomas Sheppard and Mark Edward Sheppard, in the shooting
       death of Jesus Ivan Sepulveda Martinez, including but not limited to any reports received
       from the Texas Rangers, Hudpseth County Sheriff’s Office, and any experts retained to
       investigate the incident, described in Exhibit “B”? Have you complied? Can you comply?
       If you have not or cannot comply, please state why and skip to question number 14.

       ANSWER:_______________________________________________________________

4.     Do these records, reports, statements, or data compilations set forth the activities of the
       Office of the 34th Judicial District Attorney?

       ANSWER:_______________________________________________________________

5.     Are these records, reports, statements, or data compilations under your care, supervision,
       direction, custody and/or control?

       ANSWER:_______________________________________________________________

6.     Were these records, reports, statements, or data compilations made and kept as a regular
       practice in the course of your public office or agency?
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         ANSWER:_______________________________________________________________

7.       In the regular course of the public agency, did the person who signed or otherwise prepared
         these records either have personal knowledge of the entries on these records, or obtain the
         information to make such records from sources who had such personal knowledge?

         ANSWER:_______________________________________________________________

8.       Were the entries of these records, reports, statements, or data compilations made at or near
         the time of the event recorded on these entries?

         ANSWER:_______________________________________________________________

9.       Please hand to the Officer / Notary Public taking this deposition copies of the records
         mentioned in Exhibit “B.”

         ANSWER:_______________________________________________________________

10.      Are the records you have produced either the originals or true and correct photostatic copies
         of the original records:

         ANSWER:_______________________________________________________________

11.      Are the copies of the records, reports, statements, or data compilations certified as correct
         by you?

         ANSWER:_______________________________________________________________

12.      Have you been requested, directed, or has it ever been suggested by any person (whether
         student, doctor, lawyer, patient, or anyone else) that any part of the records subject to this
         deposition be withheld or protected from discovery for any reason? If so, please state the
         name and address of the person who conveyed this information to you and when such event
         occurred.

         ANSWER:_______________________________________________________________

13.      Do you have any reason to believe that the records subject to this deposition have been
         edited, purged, culled or in any other manner made different from the way such records
         existed when created? If so, please explain your knowledge or belief in that regard?

         ANSWER:_______________________________________________________________

14.      Have you attempted to locate any and all records that would be responsive to the subpoena
         duces tecum?




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         ANSWER:_______________________________________________________________

15.      In the event that no records can be found, or a portion of the records cannot be found, are
         there document archives (i.e. microfiche), document retention or destruction policies which
         explain their absence? If yes, please identify who has knowledge of those archives or
         policies for the Office of the 34th Judicial District Attorney.

         ANSWER:_______________________________________________________________

I hereby certify that I have answers the questions in Exhibit “A” truthfully and to the best of my
knowledge.



                                                       WITNESS, CUSTODIAN OF RECORDS


I, _________________________________, a Notary Public in and for the State of Texas, do
hereby certify that the foregoing answers of the witness were made by the said witness and sworn
to and subscribed before me. The records attached hereto are exact duplicates of the original
records.

GIVEN UNDER MY HAND AND SEAL OF OFFICE this                              day of             , 2024.


                                                       ______________________________
                                                       NOTARY PUBLIC, State of Texas




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                                                 DEFINITIONS

As used in these Requests for Production, the following terms have the following meanings:

1.       “And/Or.” The connectives "and" and "or" should be construed either disjunctively or
         conjunctively as necessary to bring within the scope of the discovery request all responses
         that might otherwise be construed to be outside of its scope.

2.       “Any/All.” The term "any" and “all” should be understood in either its most or its least
         inclusive sense as necessary to bring within scope of the discovery request all responses
         that might otherwise be construed to be outside of its scope.

3.       “Communication.” The term "communication" means the transmittal of information (in
         the form of facts, ideas, inquiries, or otherwise) between two or more persons, either orally
         or by documents, and includes, without limitation, conversations in-person or by telephone,
         cell phones, wires, telexes, letters, memoranda, email, and any other oral, visual, or
         documentary means of conveying information.

4.       “Defendant,” and “LaSalle,” refer to Defendant LaSalle Corrections V LLC, means
         defendant, its successors, predecessors, divisions, subsidiaries, present and former officers,
         agents, employees, and all other persons acting on behalf of you or its successors,
         predecessors, divisions, and subsidiaries.

5.       “Document.” The term “document” is defined to be synonymous in meaning and equal
         in scope to the usage of this term in Federal Rule of Civil Procedure 34(a), and includes,
         without limitation, the following items, whether created or printed or recorded or
         reproduced by computer or by any mechanical process, or written or produced by hand,
         agreements, communications (including e-mail), state and federal governmental hearing
         reports, correspondence, telegrams, memoranda, summaries or records of telephone
         conversations, summaries or records of personal conversations or interviews, telephone
         bills, facsimile transmission sheets, invoices, bills of lading, receipts, accounting and other
         ledger-type books, diaries, graphs, reports, notebooks, note charts, plans, drawings,
         sketches, maps, summaries, or records of meetings or conferences, summaries of reports
         of investigations or negotiations, opinions or reports of consultants, photographs, motion
         picture films, brochures, pamphlets, advertisements, circulars, press releases, drafts, letters,
         any marginal comments appearing on any document, and all other writings. A draft of a
         nonidentical copy is a separate document within the meaning of this term.

6.       “Each.” The "each" should be construed as "every,” and vice-versa.

7.       “Electronically stored information” and “ESI” means data or data compilations stored
         in any electronic medium from which information can be obtained either directly or, if
         necessary, after translation by the responding party into a reasonably usable form. It
         includes voicemail messages, email messages, text messages, instant messages, WhatsApp
         messages, Facebook posts and messages, and electronic payroll or human resources data.
         The term also includes all information that is electronically stored on magnetic, optical, or



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         other storage media, such as servers, hard drives, flash drives, cellular phones, DVDs, CDs,
         tapes, cartridges, floppy diskettes, smart cards, and integrated circuit systems (e.g. SIM
         card), or on cloud-based storage drives, such as Google Drive, iCloud, and Dropbox. This
         definition includes all metadata or other identifiers associated with all ESL This definition
         includes the native format of all ESL All ESI documents should be produced in their native
         format.

8.       "Person" means the singular as well as the plural and includes any natural person,
         partnership, corporation, association, joint venture, proprietorship, firm, agency, or other
         legal or business entity, and its agents and employees.

9.       Identify (person). When referring to a person, “identity,” and "identify" means to give,
         to the extent known, the person's full name, present or last known address, telephone
         number, and, when referring to a natural person, the present or last known place of
         employment. Once a person has been identified in compliance with this paragraph, only
         the name of that person need be listed in response to later discovery requesting the
         identification of that person.

10.      Identify (document). When referring to documents, “identity,” and "identify" means to
         give, to the extent known, the following information:
             a. the type of document;
             b. the general subject matter of the document;
             c. the date of the document;
             d. the authors, addressees, and recipients of the document;
             e. the location of the document;
             f. the identity of the person who has custody of the document; and
             g. whether the document has been destroyed, and if so,
                      i. the date of its destruction,
                     ii. the reason for its destruction, and
                    iii. the identity of the person who destroyed it.

11.      “Including” shall have its ordinary meaning and shall mean “including but not limited to”
         and shall not indicate limitations to the examples or items mentioned.

12.      “Knowledge,” “information,” “possession”, “custody,” and “control” of a person shall
         be construed to include such a person’s agents, representatives, and attorneys.

13.      “Personnel file,” includes any documents or information in your possession, which relate
         to any person’s employment with you, regardless of whether such information is
         maintained in different locations, files or folders. This includes, but is not limited to
         resumes, employment applications, disciplinary records, time and attendance records, and
         pay records.

14.      “Plaintiffs” refers to the Plaintiffs in this action.

15.      A document or communication “concerning,” “relating to,” “related to,” or



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         “evidencing” a given subject means a given subject means any document that constitutes,
         contains, embodies, comprises, reflects, identifies, states, refers to, deals with, comments
         on, responds to, describes, or is otherwise pe1tinent to that subject, including without
         limitation documents concerning the presentation of other documents., directly or
         indirectly.

16.      "Worker" refers to any person who performed any tasks for you or your farming business
         or your farm labor contracting business as your employees, officers, or agents.

17.      The present tense shall be construed to include the past tense and vice-versa.

18.      The masculine shall be construed to include the feminine and vice-versa.

19.      The singular of each word shall be construed to include its plural and vice-versa, and the
         root word and all derivations (i.e. “ing,” “ed,” etc.) shall be construed to include each other.

20.      Any reference to a year (such as “from 2020”) begins with the date of January 1 and
         encompasses all dates through December 31 of that calendar year.

21.      The term “date” means the day of the month, the month, and the year. If only the
         approximate date is known or available to you, please state the approximate date, stating
         that it is an approximation only.

                                                INSTRUCTIONS

1.       Each Request for Production shall be set forth immediately prior to the response thereto.

2.       You have a duty to supplement your responses to these Requests with subsequent
         information in accordance with Fed. R. Civ. Pro 26(e). Plaintiffs request that you so
         supplement your responses.

3.       You must produce the requested documents as they are kept in the usual course of business,
         or you must organize and label them to correspond with the categories in these Requests.
         Fed. R. Civ. P. 34(b).

4.       Your responses must include ESI. See Fed. R. Civ. P. 34.
         a.     Responsive information contained in audio and video files must be produced in its
                native format. If proprietary software is required to access those files, they must be
                produced in a file format that does not require proprietary software.
         b.     Responsive information contained in emails much be produced in .pdf format (by
                printing to .pdf) or, if .pdf format is unavailable, in another text-searchable format
                such as .pst format.
         c.     Responsive information contained in text messages and iMessages must be
                produced in .xls (Microsoft Excel) or, if .xls format is unavailable, in .pdf format
                or, if .pdf format is also unavailable, in .csv, .jpeg, .png, or other native screenshot
                format.



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         d.       Responsive information contained in image files must be produced in the native
                  format.
         e.       Phone call history on cell phones must be produced in .xls (Microsoft Excel) or .csv
                  format.
         f.       Posts on social media websites must be produced in .html, .pdf, or screenshot (.jpg
                  or .png) format. Posts should include all likes and comments.
         g.       All other information must be produced in its native format, or, if native format is
                  unavailable, in another reasonably accessible and text-searchable format in which
                  it was normally accessed, edited, or maintained. When so requested, such
                  information must be produced in an exported data format and recorded on a CD or
                  USB drive, or shared with Plaintiff via Dropbox or some other electronic document
                  sharing service.

5.       Responsive ESI must be produced with all relevant metadata. This includes:
         a.    For all files created or accessed on a computer: originating path and filename, date
               created, date last modified, date last saved, authors, last saved by, and date last
               printed.
         b.    For emails: all information contained in the email header, including sender,
               receiver, CCs and BCCs, time sent, time received, subject, date, and all header
               metadata which indicates the IP address from which the email was sent.
         c.    For text messages: sender, receiver, CCs and BCCs, time sent, time received,
               subject, and date.
         d.    For images: EXIF data.

6.       Production in paper hard copy, screenshot images, scanned copies of printed hard
         copies, and other formats that remove metadata is not acceptable. If you contend that
         electronic production is unduly burdensome, please provide admissible evidence in
         sufficient detail to permit the Court to adjudicate your contention.

7.       If you produce ESI in a non-electronic format, without the metadata specified above or any
         other metadata, or if you object to the production of ESI, you must nevertheless preserve
         this information as required by law.

8.       Prior to production of any database, you shall meet and comer regarding the reasonableness
         and feasibility of any request for production of, or from, a database, including the scope,
         form, and content of any such production. You shall, however, make reasonable efforts to
         produce responsive information and data from databases using existing query and reporting
         capabilities of the database software. To facilitate such interrogation, you shall act
         reasonably and cooperatively to comply with requests from Plaintiffs for information about
         the reporting capabilities, structure, organization, query language, and schema of the
         database.

9.       In response to these Requests for Production, you are to furnish such documents as are
         available to you and any to which you have access and any that are currently in your
         possession or that of any agent, servant, or employee, including your doctors, attorneys,
         investigators, examiners, testers, and evaluators contracted by you or on your behalf.



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10.      If any requested document is no longer in your custody or possession or subject to your
         control, state whether it (a) is missing or lost, (b) has been destroyed, or (c) has been
         otherwise disposed of. In each such instance, explain the circumstances surrounding such
         disposition and state the date or approximate date thereof. If the documents are unavailable
         because they have been destroyed, state further the identity of the person who ordered them
         destroyed or who destroyed them, together with the reason for their destruction.

11.      Each request herein contemplates production of the entire material without abbreviation,
         redaction, or expurgation, including production of all drafts thereof, all revisions and
         modifications thereto, all transmittal sheets and cover letters accompanying the requested
         material, all exhibits and attachments to the material, and all enclosures sent with the
         material, in addition to the material itself.

12.      If any documents are withheld from production on the basis of a claim of privilege,
         exemption from discovery, or other objection, please furnish the following information for
         each such document:
         a.     Description of the document (e.g. letter, deed, memorandum, computer data file,
                etc.) including its title if it has any;
         b.     Date(s) the document was generated or created;
         c.     Name, address, and telephone number of the author(s) of the document;
         d.     Name, address, and telephone number of any indicated recipient(s) of the
                document;
         e.     Name, address, and telephone number of every person to whom the document has
                ever been disclosed, and the date(s) and circumstances of each such disclosure;
         f.     Subject matter of the document;
         g.     Name, address, telephone number, and position of the person(s) who have custody
                or control over the document;
         h.     Number of pages comprising the document and
         i.     Basis for claiming privilege or exemption from discovery.

13.      For each Request or part of a Request that you refuse to answer on grounds of
         burdensomeness, explain in as much detail as possible the basis for your contention.

14.      With respect to any material requested where you assert any ambiguity in interpreting either
         these requests or a definition or instruction applicable thereto, you shall not use such
         assertion as a basis for refusing to respond, but you shall set forth as part of the response
         to the language asserted to be ambiguous the interpretation chosen or used by you in
         responding to these requests.

15.      Please label each document or file produced with a Bates-stamped number.




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                                                EXHIBIT "B"
                                       PRODUCTION COMPELLED

Witness is to produce the following:

Full and complete copies any and all government records, documents, or tangible items, that have
been obtained and/or created by the Office of the 34th Judicial District Attorney pertaining to
the investigation and prosecution of Mike Thomas Sheppard and Mark Edward Sheppard, in
the connection with the shooting of Jesus Ivan Sepulveda Martinez and Brenda Berenice Casias
Carrillo, including but not limited to any reports received from the Texas Rangers, the Hudspeth
County Sheriff’s Office, and any experts retained to investigate the incident, and is the basis of
this civil suit, to include, but not limited to the following:

Occurrence Date: September 27, 2022
TDPS Investigation: Invest#2022I-TRE-50098098

    1.       Complete copy of the Texas Rangers Report of Investigation;

    2.       All reports and/or supplemental reports of any postmortem examination of Jesus Ivan
             Sepulveda Martinez;

    3.       Any and all video or audio recording, stenographic recording, report, record,
             photograph, communication, and/or document form pertaining the Incident in
             Question:

    4.       Any and all documents pertaining to any vehicles that were identified or located at the
             scene, including any documents that identify the owner of any vehicle;

    5.       Any statements by any witness to the Incident in Question;

    6.       Any statements by Mark Sheppard;

    7.       Any statements by Michael Sheppard;

    8.       Any statements obtained from the Hudspeth Co Water Control and Improvement
             District #1 (“Hudspeth Co WCID #1);

    9.       Any statements obtained by the Hudspeth County Sheriff's Office (HCSO);

    10.      Any statements obtained from the Hudspeth County Sheriff's Office (HCSO);

    11.      Any and all documents detailing all investigative activities, including, but not limited
             to, Juan Torrez’s case notes, charts and/or diagrams;




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    12.      Any and all documents detailing all investigative activities, including, but not limited
             to, Toby Catlin’s case notes, charts and/or diagrams;

    13.      Any and all documents detailing all investigative activities, including, but not limited
             to, Brent P. Mata’s case notes, charts and/or diagrams;

    14.      Any and all documents detailing all investigative activities, including, but not limited
             to, Thomas Norsworthy’s case notes, charts and/or diagrams;

    15.      Any and all documentation related to the Hudspeth County Sheriff's Office response to
             the Incident in Question;

    16.      Any and all photographs reflecting any investigation conducted of the Incident in
             Question by the Texas Department of Public Safety;

    17.      Any and all documentation related to an investigation regarding the ownership of the
             firearm allegedly used during the Incident in Question;

    18.      Any and all documents related to claims or complaints made against Hudspeth County
             Sheriff's Office related to the Incident in Question;

    19.      Any video obtained from Hudspeth County Sheriff’s Office officers, employees, or
             contractors responding to the Incident in Question (this includes bodycam and dashcam
             footage);

    20.      Any and all documents related to any claims made by Jesus Ivan Sepulveda Martinez,
             Brenda Berenice Casias Carrillo, or any other intergovernmental body/agency in
             connection with the Incident in Question;

    21.      Any and all documentation reflecting how Mark Sheppard was employed by Hudspeth
             County Sheriff’s Office;

    22.      Any and all documents obtained on the subject of Mark Sheppard, except for any
             protected health information and/or sensitive financial information.

    23.      Any and all documents obtained on the subject of Michael Sheppard, except for any
             protected health information and/or sensitive financial information.

    24.      All other documents or information relating to the investigation and/or Incident in
             Question.

    25.      The Computer Aided Dispatch (CAD) report for this incident;

    26.      Event Chronology for this incident;

    27.      All 911 call recordings for this incident;



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    28.      The 911 call log for this incident;

    29.      Body camera (officer-worn) videos and audio recordings for this incident;

    30.      Dash camera (in-car) videos and audio recordings for this incident; and

    31.      All other videos and audio recordings obtained in connection to the incident.




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             EXHIBIT
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From:            Michael Gomez
To:              Chris Benoit
Cc:              Aynimae Dominguez
Subject:         Re: Sheppard"s subpoena
Date:            Monday, September 16, 2024 6:02:08 PM


Thank you. Please note that the delay and reluctance is due to a multi agency investigation.

Get Outlook for iOS

From: Chris Benoit <chris@coylefirm.com>
Sent: Monday, September 16, 2024 2:58:09 PM
To: Michael Gomez <M.Gomez@epcountytx.gov>
Cc: Aynimae Dominguez <aynimae@coylefirm.com>
Subject: RE: Sheppard's subpoena

Our response is due tomorrow. I will note that you are still considering this
narrowed request.

From: Michael Gomez <M.Gomez@epcountytx.gov>
Sent: Monday, September 16, 2024 2:57 PM
To: Chris Benoit <chris@coylefirm.com>
Cc: Aynimae Dominguez <aynimae@coylefirm.com>
Subject: Re: Sheppard's subpoena

Chris,

I asked my client to reconsider your request. I was told i’d have an answer by
Wednesday.

MG

Get Outlook for iOS

From: Chris Benoit <chris@coylefirm.com>
Sent: Monday, September 16, 2024 1:29:41 PM
To: Michael Gomez <M.Gomez@epcountytx.gov>
Cc: Aynimae Dominguez <aynimae@coylefirm.com>
Subject: RE: Sheppard's subpoena

Mr. Gomez,
I wanted to confirm with you that, as we discussed by phone, Plaintiffs have
agreed to narrow our subpoena to a subset of records. Though we talked
generally about this subset, I wanted to make sure that we were specific about
which categories of documents it would include. Plaintiffs have agreed to
narrow the scope of our subpoena to the following categories of documents
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from Exhibit B of the initial subpoena: paragraphs 1, 3, 4, 5, 6, 7, 8, 9, 11, 16,
17, 19, 21, 25, 26, 27, 28, 29 ,30, 31. We also asked for any inspection,
catalogue, inventory, or summary of the contents of my client Brenda Berenice
Casias Carrillo’s telephone which was taken as evidence and not been returned
to her. We also requested any ballistics analysis or information regarding the
weapon and ammunition used during the shooting.

We agree that our subpoena does not include documents protected by attorney-
client privilege or attorney work product doctrine.

I am also amenable to this request being subject to a confidentiality order akin
to the Western District of Texas protective order:
https://www.txwd.uscourts.gov/wp-
content/uploads/Forms/Civil/Western%20District%20of%20Texas%20Protecti
ve%20Order.pdf

I understand that, other than the original complaint and affidavit produced on
our office on September 13, 2024, your client is unwilling to otherwise agree to
our narrowed scope above.

Please let me know if my understanding is incorrect.

Best Regards,
Chris


Christopher Benoit



PLEASE NOTE OUR NEW ADDRESS:
311 Montana Avenue, Ste B
El Paso, Texas 79902
Tel (915) 532-5544
Fax (915) 532-5566
chris@coylefirm.com
www.coylefirm.com
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       Case 3:24-cv-00059-DB Document 32 Filed 09/17/24 Page 33 of 48




From: Michael Gomez <M.Gomez@epcountytx.gov>
Sent: Wednesday, September 4, 2024 10:33 AM
To: Chris Benoit <chris@coylefirm.com>
Subject: RE: Sheppard's subpoena

Hi Chris,

I talked to my client about the specific documents you requested. Give me a call when you
can. 915-887-8936

Michael A. Gomez,
Assistant County Attorney
El Paso County Attorney's Office
320 S. Campbell St., Suite 200, El Paso, TX. 79901
915-273-3238 / 915-273-3244 / 915-273-3247
Fax: 915-273-3277
e-mail address: mgomez@epcounty.com

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From: Chris Benoit <chris@coylefirm.com>
Sent: Tuesday, September 3, 2024 2:32 PM
To: Michael Gomez <M.Gomez@epcountytx.gov>
Subject: RE: Sheppard's subpoena

Michael,
You bet. I’m a bit under the gun. Can we catch up tomorrow?

Thanks
Chris


Christopher Benoit
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advise the sender. Thank you.




From: Michael Gomez <M.Gomez@epcountytx.gov>
Sent: Tuesday, September 3, 2024 9:06 AM
To: Chris Benoit <chris@coylefirm.com>
Subject: Sheppard's subpoena

Chris,

I’m handling the Sheppard subpoena for the DA. The case is still under a multi-
agency investigation. Would you consider withdrawing your subpoena until the matter
is resolved. Please call me on my cell if you wish to discuss: 915-887-8936

Michael A. Gomez,
Assistant County Attorney
El Paso County Attorney's Office
320 S. Campbell St., Suite 200, El Paso, TX. 79901
915-273-3238 / 915-273-3244 / 915-273-3247
Fax: 915-273-3277
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10/24/23, 9:13 AM        Case A3:24-cv-00059-DB               Document
                                long road to justice: Twin brothers           32 Filed
                                                                    remain in Florida         09/17/24
                                                                                      a year after             Page 43
                                                                                                   shooting at migrants      of 48
                                                                                                                        in Sierra Blanca, Texas - KVIA

 On the Border        FOLLOW        0 Followers


 A long road to justice: Twin brothers remain in Florida a year after shooting
 at migrants in Sierra Blanca, Texas




 By Gabby Hernandez        FOLLOW
                                                                                                                           4
 October 23, 2023 11:30 PM      Published October 23, 2023 11:22 PM



 EL PASO, TEXAS -- Two men are accused of shooting at a group of migrants who had stopped to get a drink of water, killing one and wounding
 another, according to investigators. The shooting happened on Sept. 27, 2022, near Sierra Blanca, Texas.

 Michael and Mark Sheppard, both 61, are out on a $500,000 dollar bond each, according to Michael Sheppard's lawyer, Brent Mayr.

                                                                           ADVERTISING




 32-year-old Brenda Berenice Casias spent four months recovering from the gunshot wound she suffered. She says she played dead, afraid she
 would be shot again.

 Court records say Michael and Mark Sheppard allegedly attacked the migrants while they rested at "Five mile tank", a well-known watering hole.
 One of the migrants was 22-year-old Jesús Ivan Sepúlveda, who was shot and killed.

 He was a married father of two. His wife says he was on his way to work as a house painter in San Antonio, Texas.

 ADVERTISEMENT




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https://kvia.com/news/border/2023/10/23/a-long-road-to-justice-twin-brothers-in-florida-a-year-after-migrants-were-shot/                                 1/2
10/24/23, 9:13 AM            Case A3:24-cv-00059-DB               Document
                                    long road to justice: Twin brothers           32 Filed
                                                                        remain in Florida         09/17/24
                                                                                          a year after             Page 44
                                                                                                       shooting at migrants      of 48
                                                                                                                            in Sierra Blanca, Texas - KVIA




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                                                       Leave A Comment Below And Let Us Know What You Think.


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 The Sheppard brothers were arrested at home and charged with manslaughter and aggravated assault with a deadly weapon. Investigators say
                                                                                       Read the Comments
 the brothers first told them they were looking for ducks, but they later said they were looking for Javelinas, which is a wild pig commonly found
 in Sierra Blanca.

 Casias said, "That's a lie, they looked at us face-to-face before shooting."

 The migrants told investigators the Sheppard's yelled racial slurs in broken Spanish before firing. Attorney Brent Mayr represents
 Michael Sheppard and he denies the allegations.

 "They had no idea that there were human beings out there in the desert at that time of night. There's no way they could have seen or even
 known that those were human beings out there. And so I want to be very clear that any accusations about them saying anything in Spanish or
 thinking that they were communicating with human beings is absolutely false," Mayr said.

 Meanwhile, Jesus Sepulveda's family wants to know why the Sheppard brothers are free and unindicted more than a year later. Napoleon
 Sepulveda demands justice from U.S. authorities. "I would like to ask the lawyers and the authorities to please not forget about my son's case.
 My son deserves justice" Sepulveda said.

 After being charged with the shootings of both migrants, the Sheppards bonded out and returned to their home state of Florida. When I reached
 out to the Hudspeth county district clerk's office they said, "... the Sheppard brothers have not been indicted yet."

 ABC-7 asked why and they said "they didn't know why" and directed me to prosecutors. That would be district attorney Bill Hicks, who serves
 the 34th judicial district, which includes Sierra Blanca. The chief of staff says they can't indict because law enforcement has yet to turn over the
 case to them. I asked El Paso criminal defense attorney Omar Carmona if it's normal for the case to be pending this long, to which he replied,
 "It's within their discretion when they're going to bring the charges within the statute of limitations." The manslaughter charge has no statute of
 limitations.

 However, Texas law requires aggravated assault cases be indicted within 2 years or else they'll be dismissed. That means the alleged
 aggravated assault against Casias could be dismissed.

 "It's our position that hopefully that they recognize that it is an accident and nothing more" said attorney Brent Mayr. The FBI confirmed they
 also have an open investigation. Federal prosecutors have not responded to my emails asking about the status of their case. Jesus
 Sepulveda's family says no one has contacted them since December of 2022 and Casias says she has already cried and suffered a lot and all
 she cares about now is for justice to be served.




https://kvia.com/news/border/2023/10/23/a-long-road-to-justice-twin-brothers-in-florida-a-year-after-migrants-were-shot/                                     2/2
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

 NAPOLEÓN SEPÚLVEDA MORENO,                          §
 LUZ MARIA MARTINEZ CASTRO, and                      §
 SANDRA          LIZETTE         CARDENAS            §
 RAMIREZ, Individually and Next Friend of            §
 S.S.C., minor child, Individually and for and       §
 on behalf of All Those Who Are Entitled to          §
 Recover under the Texas Wrongful Death and          §
 Survival Acts for the Death of JESUS IVAN           §
 SEPÚLVEDA MARTINEZ, and BRENDA                      §
 BERENICE CASIAS CARRILLO,                           §             3:24-CV-00059-DB
                                                     §
        Plaintiffs,                                  §
                                                     §
 v.                                                  §
                                                     §
 LASALLE CORRECTIONS V LLC,                          §
                                                     §
        Defendant.                                   §

      LASALLE CORRECTIONS V, LLC’S OBJECTIONS AND RESPONSES TO
                PLAINTIFFS’ REQUEST FOR PRODUCTION

TO:    Plaintiffs, by and through their attorney of record, Christopher Benoit, Benoit Legal, PLLC,
       The Law Center, 311 Montana, Suite B, El Paso, Texas 79902.

       Pursuant to Federal Rule of Civil Procedure 34, LaSalle Corrections V LLC (“LaSalle

Corrections”) serves its Objections and Responses to Plaintiffs’ Request for Production.




                                   <Signature page follows.>




                                                 1
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                                          Respectfully submitted,

                                          KEMP SMITH LLP
                                          P.O. Box 2800
                                          El Paso, Texas 79999-2800
                                          915.533.4424
                                          915.546.5360 (Facsimile)

                                          Valerie R. Auger
                                   By:    VALERIE R. AUGER
                                          State Bar No. 24076251
                                          Valerie.Auger@kempsmith.com
                                          SEBASTIAN NUNEZ
                                          State Bar No. 24110169
                                          Sebastian.Nunez@kempsmith.com

                                          Attorneys for LaSalle Corrections V LLC




                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies a true and correct copy of the foregoing document was
served on this 22nd day of July 2024 to the following via electronic mail:

Christopher Benoit
chris@coylefirm.com
Benoit Legal, PLLC
The Law Center
311 Montana, Suite B
El Paso, Texas 79902

Attorney for Plaintiffs

                                          Valerie R. Auger
                                          VALERIE R. AUGER




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RESPONSE: LaSalle Corrections is enduring a reasonable and diligent search to identify any
responsive documents specific to this Request. LaSalle Corrections expressly reserves the right to
supplement and amend this response at a later time to the extent any responsive documents to this
Request are identified.

REQUEST FOR PRODUCTION NO. 12:

All communications by or between Mike Sheppard, on the one hand, and any agent or
representative of Hudspeth County, on the other hand, from August 15, 2022 to October 1, 2022.

RESPONSE: Objection. LaSalle Corrections objects to this Request as it seeks documents outside
of LaSalle Corrections’s possession, custody, or control. A party may serve another party a request
to produce documents or electronically stored information “in the responding party’s possession.”
See Fed. R. Civ. P. 34(a)(1). However, a party cannot produce what it does not have. Samsung
Elecs. Am., Inc. v. Yang Kun Chung, 321 F.R.D. 250, 299 (N.D. Tex. 2017). As worded, this
Request seeks communications from Michael Sheppard to “any agent or representative of
Hudspeth County.” LaSalle Corrections does not have full access or control of Michael Sheppard’s
information as the Federal Bureau of Information confiscated LaSalle Corrections computers
Michael Sheppard would use for work.

REQUEST FOR PRODUCTION NO. 13:

All communications by or between Mike Sheppard, on the one hand, and any agent or
representative of the Hudspeth County Water Control and Improvement District #1, on the other
hand, from August 15, 2022 to October 1, 2022.

RESPONSE: Objection. LaSalle Corrections objects to this Request as it seeks documents outside
of LaSalle Corrections’s possession, custody, or control. A party may serve another party a request
to produce documents or electronically stored information “in the responding party’s possession.”
See Fed. R. Civ. P. 34(a)(1). However, a party cannot produce what it does not have. Samsung
Elecs. Am., Inc. v. Yang Kun Chung, 321 F.R.D. 250, 299 (N.D. Tex. 2017). As worded, this
Request seeks communications from Michael Sheppard to “any agent or representative of the
Hudspeth County Water Control and Improvement District #1.” LaSalle Corrections does not have
full access or control of Michael Sheppard’s information as the Federal Bureau of Information
confiscated LaSalle Corrections computers Michael Sheppard would use for work.

REQUEST FOR PRODUCTION NO. 14:

All communications by or between your agents referencing meetings with the Hudspeth County
Sheriff’s office and Hudspeth County Commissioner Andrew Verdell and/or Arvin West from
August 15, 2022 to September 27, 2022.

RESPONSE: After a diligent search, no responsive documents were identified. However, LaSalle
Corrections expressly reserves the right to supplement and amend this response at a later time to
the extent any responsive documents to this Request are identified.



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